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                       UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

    UNITED STATES OF AMERICA

    VS.                                            CASE NO: 6:20-cr-97-GAP-LRH

    JOEL MICAH GREENBERG


                                           ORDER

          This cause came on for consideration without oral argument on the following

    motion filed herein:

          MOTION: GOVERNMENT’S UNOPPOSED MOTION TO SEAL
                  AND FILE EX PARTE (Doc. 134)

          FILED:       February 10, 2022



          THEREON it is ORDERED that the motion is GRANTED. The
          Clerk is directed to accept for filing UNDER SEAL the ex parte status
          report.

          DONE and ORDERED in Orlando, Florida on February 11, 2022.




    Copies furnished to:

    United States Attorney
    Counsel for Defendant
